                Case 23-11069-CTG             Doc 156        Filed 08/09/23        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                     )
In re:                                               )   Chapter 11
                                                     )
YELLOW CORPORATION, et al.,1                         )   Case No. 23-11069 (CTG)
                                                     )
                             Debtors.                )   (Joint Administration Requested)
                                                     )
                                                     )   Related Docket No. 16
                                                     )   Hearing Date: August 9, 2023, at 3:00 p.m. (ET)
                                                     )

                    NOTICE OF REVISED CASH COLLATERAL BUDGET

                 PLEASE TAKE NOTICE that on August 7, 2023, the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) filed the Motion of Debtors for Entry of

Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and

(B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense

Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use UST Cash

Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final Hearing, and (VII)

Granting Related Relief [Docket No. 16] (the “DIP Financing Motion”), which attached

proposed interim orders regarding DIP financing (the “Proposed Interim DIP Order”) and use of

cash collateral (the “Proposed Interim UST Cash Collateral Order”).

                 PLEASE TAKE FURTHER NOTICE that the Debtors will only be seeking

interim approval of use of cash collateral and entry of the Proposed Interim UST Cash Collateral

Order at a hearing conducted entirely via Zoom video conference (the “Interim Cash Collateral

Hearing”) before the Honorable Craig T. Goldblatt at the United States Bankruptcy Court for the

1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
    principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
    Overland Park, Kansas 66211.

                                                         1
DOCS_DE:244154.1 96859/001
                Case 23-11069-CTG    Doc 156     Filed 08/09/23     Page 2 of 2




District of Delaware (the “Court”), located at 824 North Market Street, 3rd Floor, Courtroom

No. 7, Wilmington, Delaware 19801, on August 9, 2023 at 3:00 p.m. (prevailing Eastern

Time).

                 PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 1 is a

revised cash collateral budget in connection with the Proposed Interim UST Cash Collateral

Order.

Dated: August 9, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)          Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)          David Seligman, P.C. (pro hac vice pending)
Peter J. Keane (DE Bar No. 5503)             Whitney Fogelberg (pro hac vice pending)
Edward Corma (DE Bar No. 6718)               KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP            KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor          300 North LaSalle
P.O. Box 8705                                Chicago, Illinois 60654
Wilmington, Delaware 19801                   Telephone:       (212) 446-4800
Telephone:      (302) 652-4100               Facsimile:       (212) 446-4900
Facsimile:      (302) 652-4400               Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                            david.seligman@kirkland.com
                tcairns@pszjlaw.com                           whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com           -and-

                                             Allyson B. Smith (pro hac vice pending)
                                             KIRKLAND & ELLIS LLP
                                             KIRKLAND & ELLIS INTERNATIONAL LLP
                                             601 Lexington Avenue
                                             New York, New York 10022
                                             Telephone:     (212) 446-4800
                                             Facsimile:     (212) 446-4900
                                             Email:         allyson.smith@kirkland.com

                                             Proposed Co-Counsel for the Debtors and Debtors in
                                             Possession




                                             2
DOCS_DE:244154.1 96859/001
